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                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                        Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.




            MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL

            Plaintiffs submit this memorandum of law in support of their motion to compel discovery

     from Defendants Cox Communications, Inc. and CoxCom, LLC (collectively “Cox”).                 As

     explained below, Plaintiffs request an order compelling Cox to produce key discovery and trial

     documents from a related case and copyright infringement notices for a four-year period.

                                            INTRODUCTION

            This action is brought by major record companies and music publishers against one of the

     nation’s largest internet service providers.   Plaintiffs allege that Cox is contributorily and

     vicariously liable for infringement of their copyrighted sound recordings and musical

     compositions. For years, copyright owners sent Cox hundreds of thousands, if not millions, of

     notices that certain customers were using Cox’s service to infringe. But Cox deliberately turned a

     blind eye to its subscribers’ infringement and refused to take reasonable measures to curb its

     customers from infringing—even after it became aware of particular customers engaging in

     specific, repeated acts of infringement.

            This case is related to a recent case in this Court, BMG Rights Management v. Cox

     Communications, Inc. et al., 1:14-cv-1611 (the “BMG Litigation”), which involved the same
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claims and same defendants. Both cases involve Cox’s failure to terminate or otherwise take

meaningful action against the accounts of repeat infringers whose identities were known.

       Plaintiffs seek to compel the production of two sets of documents. First, Plaintiffs seek

documents from the BMG Litigation—public trial exhibits, deposition transcripts of Cox’s fact

witnesses and specific experts, and Cox’s sworn interrogatory answers. Given the overlapping

factual and legal issues between the cases, such discovery is relevant and Cox can easily produce

it. Second, Plaintiffs seek copyright infringement notices received by Cox for the period 2010 to

2014. A variety of copyright owners or their agents sent infringement notices to Cox. All such

notices are relevant.

                                        BACKGROUND

       The parties served initial discovery requests on November 19, 2018. Plaintiffs served a

total of 66 requests for production, tailored to a targeted set of documents. (Ex. A.) In contrast,

Cox served 175 requests for production. In addition to sheer volume, 130 of the requests seek “all

documents”—often concerning broad subject matter far afield of any issue related to the case. The

parties are in the midst of active meet and confers concerning their respective discovery requests.

In the meantime, the issues set forth below are ripe for consideration by the Court.

       Plaintiffs requested: (1) documents from the BMG Litigation, including prior discovery

responses, trial exhibits, and deposition transcripts (Id., RFPs 1-5); and (2) all copyright

infringement notices Cox received and documents concerning the same (Id., RFPs 11, 18-19, 22).

Cox objected to all of the requests. (Ex. B.) For the BMG Litigation documents, Cox objected to

producing anything beyond deposition transcripts for witnesses identified in its 26(a)(1)

disclosures (witnesses Cox deems favorable). (Id., Objections to RFPs 1-5.) For copyright

infringement notices, Cox objected to producing anything beyond notices sent on behalf of the

Plaintiffs from February 2013 through November 2014 (the time period in which Plaintiffs’ claims



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of infringement accrued). (Id., Objections to RFPs 11, 18-19, 22.) Cox refuses to produce notices

from others, even if they involve the same subscribers identified in Plaintiffs’ notices, and also

objects to producing notices that Cox received just prior to the time frame when Plaintiffs’ claims

accrued.

        On December 10, 2018, Plaintiffs sent Cox a letter identifying problems with its objections.

(Ex. C.) The parties have since conferred for several hours on December 12 and December 14,

with multiple counsel for both sides present.

                                            ARGUMENT

      I.      Related Case Materials

           In order to streamline discovery, Plaintiffs seek key documents from the BMG Litigation.

That case shares many of the same legal and factual issues as this one—Plaintiffs assert the same

claims, for the same time period, based on Cox’s policies and practices regarding repeat infringers.

Cox has complete access to discovery and case materials from the BMG Litigation discovery and

has not hesitated to make offensive use of the very same materials it refuses to produce. For

example, Cox attached an excerpt of the deposition of Roger Vredenburg, a former Cox employee,

in its reply in support of its motion to transfer venue. Dkt. 34 at 5, attached hereto as Ex. D.

Plaintiffs had no access to that transcript, and Cox still refuses to produce it. Cox could easily and

quickly provide Plaintiffs with documents at issue at little to no cost, yet it refuses to produce them.

Cox should be ordered to produce the following BMG Litigation materials: (1) all trial exhibits

and demonstratives; (2) deposition transcripts and accompanying exhibits for all of Cox’s fact

witnesses (including former employees) and four experts (Barbara Frederiksen-Cross, William

Lehr, Terrence McGarty, Richard Sullivan); and (3) Cox’s interrogatory responses.




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           A. Trial Exhibits and Demonstratives

       Plaintiffs seek all trial exhibits “used, referenced or introduced during the 2015 trial in the

BMG Litigation . . . includ[ing] demonstrative exhibits presented at the trial by any party.” (Ex.

A, RFP 2.) Not only are these exhibits discoverable, they are subject to public access under the

common law and the First Amendment. Documents that are offered into evidence for the jury’s

consideration at trial become “simply by virtue of that event, subject to the public right of access

guaranteed by the First Amendment.” Level 3 Commc'ns, LLC v. Limelight Networks, Inc., 611 F.

Supp. 2d 572, 589 (E.D. Va. 2009). That right even applies to demonstrative exhibits not admitted

into evidence if they are “displayed in open court.” Rambus, Inc. v. Infineon Techs. AG, No. CIV.A.

3:00CV524, 2005 WL 1081337, at *3 (E.D. Va. May 6, 2005) (granting motion to access

demonstrative exhibits under First Amendment right of public access or, alternatively, common

law presumption of openness).

       Although Plaintiffs purchased copies of the BMG litigation trial transcripts, they did not

include the trial exhibits or demonstratives. Plaintiffs’ understanding is that the Court does not

possess the documents, prompting several informal requests to Cox followed by RFP 2. Cox

primarily objects to this discovery as seeking irrelevant information, “including but not limited to

the DMCA; affirmative defenses not at issue here; works not at issue here; entities that are not

parties to this litigation; and documents concerning information outside Plaintiffs’ Claim Period.”

(Ex. B, RFP 2.)

       Cox’s relevance objection regarding “information outside Plaintiffs’ Claim Period,” is an

apparent attempt to relitigate Judge O’Grady’s decision that documents and information preceding

the claims period are probative of Cox’s liability and willful blindness. In the BMG Litigation,

the Court previously concluded that “Cox’s policies and procedures related to infringement were

of course established prior to [Plaintiffs’ infringement notices], and it is those policies and



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procedures that Cox applied when it received notices of infringement for [Plaintiffs’] works at

issue.” BMG Dkt. 1018 at 2, attached hereto as Ex. E. Discovery objections are not the proper

vehicle to challenge that ruling, and, in any event, admissibility is a “much more stringent standard

than discoverability.” Hart v. Lousiana-Pac. Corp., No. 2:08-CV-47-BO, 2013 WL 12284613, at

*3 (E.D.N.C. Jan. 4, 2013). If documents pre- or post-dating the claim period were sufficiently

relevant to be admitted at the BMG trial, they are certainly discoverable in this case. And, if the

documents were moved into admission and not admitted, they are similarly instructive for purposes

of Plaintiffs’ understanding what exhibits were excluded and why. The production of these

documents supports basic notions of fairness and will level the playing field by providing access

to many of the most relevant documents at the outset of discovery.

       Cox’s other relevance objections are equally overstated. This Court and the Fourth Circuit

both held that Cox forfeited the DMCA safe harbor for failing to implement a reasonable safe

harbor policy. BMG Litigation, Dkt. 703 at 42; BMG Rights Mgmt. (US) LLC v. Cox Commc'ns,

Inc., 881 F.3d 293, 305 (4th Cir. 2018). Cox now claims that the DMCA is irrelevant because they

are not asserting it as an affirmative defense. But the repeat infringer policy that Cox implemented

(or failed to implement) and its attitude towards the same are relevant to the underlying issues on

liability and damages.     For example, that a Cox’s employee charged with responding to

infringement allegations exclaimed “F the dmca!!!” in an internal email to others charged with

handling copyright infringement notices is highly probative of Cox’s disregard for copyright.

Notably, in advance of the scheduled retrial in the BMG Litigation, the Court denied Cox’s motion

to exclude that very email even though the DMCA was not a defense there either. (Ex. E.)

       The Court also recognized the importance of evidence beyond the specific plaintiff when

it rejected the same arguments for exclusion prior to the 2015 trial. As the Court explained, “I’m

going to allow BMG to put on its theory of the case. . . . I think that for purposes of contributory



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infringement, actual knowledge is BMG’s burden. All of the e-mails, even though they are not of

BMG clients, go to the actual knowledge of the program and the fact that Cox was not going to

follow it. And they weren’t going to follow it because they didn’t want to lose customers.” BMG

Dec. 1, 2015 Hearing Tr. at 30:5-13, attached hereto as Ex. F (emphasis added). In other words,

documents regarding “works not at issue” or “entities that are not parties to this litigation” still

demonstrate Cox’s knowledge of specific repeat infringers and infringement occurring on its

network generally (and could involve some of the same infringers identified in Plaintiffs’ notices).

         Finally, Cox’s burden and confidentiality objections are entirely generic and unexplained.

Cox did not move to seal the exhibits used publicly during trial, a protective order will be entered

shortly, and there is no plausible burden to producing trial exhibits in Cox’s possession.

           B. Deposition Transcripts for Cox’s Fact Witnesses and Four Experts

       Plaintiffs requested “[t]ranscripts of all depositions taken in the BMG Litigation, including

any exhibits used during those depositions.” (Ex. A, RFP 4.) During the conferral process,

Plaintiffs offered to narrow the request at this time to transcripts and exhibits for all of Cox’s fact

witnesses and experts. However, Cox still refuses to produce depositions for witnesses other than

those identified in its Rule 26(a)(1) disclosures. Cox is apparently only willing to share the

testimony that it seeks to rely upon, as opposed to testimony that undermines its positions. Cox

has refused to even identify the individuals deposed in the BMG Litigation that do not appear on

Cox’s Rule 26(a)(1) disclosures and whose transcripts it is withholding. It has also not identified

any specific fact witnesses for which it believes deposition transcripts are irrelevant.

       Plaintiffs are aware of at least three fact depositions Cox is improperly withholding. Each

witness was deposed in the BMG case. Two testified at trial.

           •   Randall Cadenhead, former Privacy Counsel and Cox’s 30(b)(6) designee on a
               number of topics, including Cox’s repeat infringer policy and employee training on
               infringement notices. Dkt. 23-1, attached hereto as Ex. G, at 2. Mr. Cadenhead
               testified in the 2015 BMG trial about these and related topics. In Cox’s motion to


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               transfer venue to Georgia, Cox identified Mr. Cadenhead as one of the Atlanta-
               based witnesses whose convenience warranted transfer. Dkt. 23 at 9, attached
               hereto as Ex. H.

           •   Roger Vredenburg, former copyright abuse employee responsible for deciding
               whether to terminate repeat-infringing subscribers. This Court twice denied Cox’s
               motion to quash trial subpoenas to Mr. Vredenburg given the materiality and non-
               cumulative nature of his testimony. BMG Dkt. 711, 1001; BMG Trial Tr. 619-20,
               attached hereto as Ex. I. Mr. Vredenburg’s work for Cox from Virginia on core
               issues in the case was amongst the Court’s considerations in denying Cox’s motion
               to transfer to Georgia. Dkt. 51 at 4.

           •   Andrea Dameri, a Cox network security employee. Ms. Dameri is knowledgeable
               about how Cox declined to terminate repeat infringers. (Ex. G ¶ 6; Ex. I at 1437.)

       There can be no dispute that those individuals possess discoverable information. And

Plaintiffs have no doubt that Cox will use those and other transcripts to prepare for depositions in

this case or other purposes. Cox has already shown its willingness to use the Vredenburg transcript

during motion practice without providing Plaintiffs a copy. In conferring over Cox’s objection and

limited offer of production, Plaintiffs asked Cox whether any additional Cox witnesses were

deposed in the BMG case, but they refused to answer. Gould Decl. ¶ 4, Dkt. 54-1. Cox has not

even attempted to articulate a basis for withholding these deposition transcripts (or any others for

Cox fact witnesses).

       The Court should also compel the deposition transcripts of certain experts from the BMG

Litigation. Plaintiffs are striving for efficiency—not blindly requesting all expert depositions. At

this time, they request only the following expert deposition transcripts, all of which are directly

applicable here:

           •   Barbara Frederiksen-Cross, a computer forensic expert, who testified for BMG
               about the technical aspects of the Bit Torrent protocol and her opinion that Cox’s
               Copyright Abuse Tracking System (CATS) essentially did nothing. (Ex. I. at 223-
               25.)

           •   William Lehr, an economics, Internet telecommunications and media industry
               expert, who testified for BMG about the nature of harm caused to copyright holders
               by infringement, the difficulty of quantifying such harm, Cox’s financial benefits
               from and incentive to tolerate infringement. (Id. at 1055-58.)


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             •   Terrence McGarty, an expert in the design and implementation of Internet
                 telecommunications, who testified for BMG about the operational and logistical
                 limitations of Cox’s CATS and Cox’s right and ability to control infringement
                 occurring through its network. (Id. at 2000-05.)

             •   Richard Sullivan, an economics expert, who testified for Cox in critique of Dr.
                 Lehr’s analysis of the effects of infringement on Cox, and also provided a purported
                 damages model assuming liability to opine on lost revenue to the copyright holder
                 and financial benefit to Cox. (Id. at 1654-55.)

        Plaintiffs may want to use certain of the above experts as testifying witnesses in this case

and are entitled to know the positions that Cox’s own experts took in defending materially similar

claims. Both for fairness and to streamline this case, Plaintiffs should get to see what positions

those experts took, and which positions Cox challenged or did not. Knowing their opinions, the

documents they deemed relevant, and what they said about Cox’s misconduct, ill-gotten gains and

theory of a copyright plaintiff’s lost revenue will ensure more efficient litigation for all parties and

the Court.

             C. Cox’s Interrogatory Responses

        Plaintiffs requested Cox’s “responses and objections to interrogatories, document requests,

requests for admission, and deposition notices and topics in the BMG Litigation.” (Ex. A, RFP 5.)

During the conferral process, Plaintiffs offered to limit the request at this time to Cox’s responses

to interrogatories. However, Cox refuses to produce these sworn statements.

        As with the trial exhibits and deposition transcripts, Cox cannot object with only generic

references to the DMCA, “works not at issue” and “entities that are not parties to this litigation.”

Cox has not identified any specific interrogatory responses that it believes are irrelevant. And

again, Cox has no support for its burden and confidentiality objections since a protective order is

imminent and there is no burden. Finally, Cox’s contention that Plaintiffs’ request seeks to

contravene limits on the number of interrogatories misses the point—Plaintiffs are entitled to

discover Cox’s prior sworn statements on relevant issues.



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     II.   Copyright Infringement Notices

       Plaintiffs requested, for a period from 2010 to 2014, “[a]ll Infringement Notices received

by Defendants from any rights holder.” (Ex. A, RFP 11.) However, Cox refuses to produce

discovery concerning any notices other than those “of claimed infringement of Plaintiffs’ works

that were sent on Plaintiffs’ behalf during Plaintiffs’ Claim Period.” (Ex. C at 11, 22.)

       Plaintiffs seek all copyright infringement notices from 2010 to 2014 for multiple reasons.

First, Cox can acquire knowledge not only from Plaintiffs, but from others. The notices illustrate

the large-scale copyright infringement occurring on Cox’s network, and the fact that Cox had

actual knowledge of that infringement. That is important context for the jury and speaks directly

to Cox’s knowledge of the infringing activity. When juxtaposed with Cox’s failure to implement

reasonable policies and procedures to terminate the accounts of repeat infringers, those notices are

also relevant to showing Cox’s willfulness. Second, the notices demonstrate Cox’s specific

knowledge of individual repeat infringers. For example, if a subscriber that repeatedly infringed

Plaintiffs’ copyrights also engaged in rampant movie piracy, Cox’s failure to terminate that

subscriber’s account is even more reprehensible and something a jury can assess when determining

both liability and damages

       In the BMG Litigation, Cox raised similar objections to the admission of documents

regarding other copyrighted works and those sent outside the two-year claim period. Ex. E at 1-2.

Cox argued that emails regarding other copyrighted works were not “relevant to actual

knowledge.” Id. at 1. But Judge O’Grady disagreed, finding the document admissible and “highly

probative on the issue of willfulness and willful blindness.” He explained that:

       Evidence of Cox’s overall system for addressing infringement (including evidence
       showing that Cox knew of a high probability that users identified in infringement
       notices were in fact infringers and evidence showing that Cox did not want to see
       infringement notices because it did not want to take action against subscribers) is
       relevant to whether Cox consciously avoided learning about specific instances of
       infringement.


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  Id. at 2.

          Cox also argued that documents sent outside the claim period were irrelevant because all

  the alleged infringements occurred during the claim period, and therefore it was the only period

  “during which Cox could, even in theory, have willfully blinded itself to relevant specific instances

  of relevant [sic] infringement.” Id. Again, Judge O’Grady disagreed:

          Cox’s internal policies and procedures related to infringement were of course
          established prior to February 5, 2012, and it is those policies and procedures that
          Cox applied when it received notices of infringement for BMG’s work at issue. The
          emails are therefore relevant to the question of whether Cox blinded itself to
          infringement of specific BMG works.

  Id. at 2. The Court’s prior decisions on these precise issues apply aptly to this case.


                                                                  Respectfully Submitted,


Dated December 14, 2018                                           /s/ Scott A. Zebrak   /
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